Case No. 1:16-cr-00284-PAB          Document 65       filed 08/03/17   USDC Colorado         pg 1
                                            of 1

                                 UNITED STATES DISTRICT COURT            Alfred A. Arraj
                                 FOR THE DISTRICT OF COLORADO            United States Courthouse
                                      OFFICE OF THE CLERK                901 19th Street
                                                                         Denver, Colorado 80294
                                                                         www.cod.uscourts.gov


 Jeffrey P. Colwell                                                      Phone: (303) 844-3433
 Clerk


Date: 8/3/2017
                                                                          USA or other
   Pro Se             Retained         CJA                   FPD          Federal Agency
                                                                        (Appeal Fee Exempt)

Case No: 16-cr-00284-CMA                                       Amended Notice of Appeal
                                                               Other pending appeals
Date Filed: 08/03/2017                                         Transferred Successive
                                                               §2254 or §2255
Appellant: Donald Iley

Pro Se Appellant:
        IFP forms mailed/given                Motion IFP pending           Appeal fee paid
                                              IFP denied                   Appeal fee not paid

Retained Counsel:
         Appeal fee paid               Appeal fee not paid                 Motion IFP filed

 The Preliminary Record on Appeal is hereby transmitted to the Tenth Circuit Court of
 Appeals. Please refer to the forms, procedures, and requirements for ordering
 transcripts, preparing docketing statements and briefs, and designations of the record
 that are found on the Tenth Circuit’s website, www.ca10.uscourts.gov.

 If not already completed, either an appeal fee payment for filing this case or filing of a
 motion to proceed in forma pauperis will be made to this District Court.

 The transcript order form must be filed in the District Court as well as the Court of Appeals
 within 14 days after the notice of appeal was filed with the District Court.


 If you have questions, please contact this office.

                                             Sincerely,

                                             JEFFREY P. COLWELL, CLERK

                                             by: s/A. Thomas
                                                  Deputy Clerk

 cc:      Clerk of the Court, Tenth Circuit Court of Appeals

Rev. 10/2/2014
